             Case 2:12-cr-00250-GEB Document 141 Filed 05/18/17 Page 1 of 2



 1   PHILLIP A. TALBERT
     United States Attorney
 2   MATTHEW G. MORRIS
     TIMOTHY H. DELGADO
 3   Assistant U.S. Attorneys
     501 I Street, Suite 10-100
 4   Sacramento, CA 95814
     Telephone: (916) 554-2700
 5

 6

 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         2:12-CR-00250-GEB
12                 Plaintiff,
                                                       PRELIMINARY ORDER OF
13          v.                                         FORFEITURE
14   XAVIER L. JOHNSON,
     KRISTIN M. CALDWELL, and
15   WILLIAM L. BROWN,
16                 Defendants.
17

18          Based upon the plea agreement entered into between plaintiff United States of America and

19 defendants Xavier L. Johnson, Kristin M. Caldwell and William L. Brown it is hereby ORDERED,
20 ADJUDGED AND DECREED as follows:

21          1.     Pursuant to 18 U.S.C. § 2323(b)(1), defendants Xavier L. Johnson, Kristin M. Caldwell and

22 William L. Brown’s interest in the following assets shall be condemned and forfeited to the United States

23 of America, to be disposed of according to law:

24                 a.   Any DVDs bearing counterfeit marks;
                   b.   HP Pavilion S/N 5ANGNDAH2ZT2WP;
25                 c.   HP Pavilion S/N 5AAGHD7H2WG13U;
                   d.   HP Touchsmart printer;
26                 e.   Canon scanner;
                   f.   Express Label printer number 367CN;
27                 g.   eMachines computer S/N PTNCG02001031049C59600;
                   h.   ASUS computer S/N 990AAS065130;
28                 i.   HP LaserJet P1102x S/N VNB3Z40639;
                                                        1
29                                                                           Preliminary Order of Forfeiture

30
              Case 2:12-cr-00250-GEB Document 141 Filed 05/18/17 Page 2 of 2



 1                  j. eMachines computer S/N PTNCK02001046012D69600;
                    k. eMachines computer S/N PTNCK02001046022329600;
 2                  l. SVAT digital storage device S/N 100405242; and
                    m. Supersealer Shrink wrap System S/N 18327333.
 3

 4          2.      The above-listed property constitutes property used, or intended to be used, in any manner

 5 or part, to commit, or to facilitate the commission of a violations of 17 U.S.C. § 506(a)(1)(B) and 18

 6 U.S.C. §§ 2, 2319(c)(3) and 2320(a)(1).

 7          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to seize

 8 the above-listed property. The aforementioned property shall be seized and held by the U.S. Marshals
 9 Service, in its secure custody and control.

10          4.      a.      Pursuant to 18 U.S.C. § 2323(b)(2)(A), 21 U.S.C. § 853(n) and Local Rule 171, the

11 United States shall publish notice of the order of forfeiture. Notice of this Order and notice of the

12 Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

13 General may direct shall be posted for at least 30 consecutive days on the official internet government

14 forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable, provide direct

15 written notice to any person known to have alleged an interest in the property that is the subject of the

16 order of forfeiture as a substitute for published notice as to those persons so notified.

17                  b.      This notice shall state that any person, other than the defendant, asserting a legal

18 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

19 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or
20 within thirty (30) days from the receipt of direct written notice, whichever is earlier.

21          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

22 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 2323(b)(1), in which all interests will be

23 addressed.

24          SO ORDERED.
     Dated: May 18, 2017
25
26

27

28
                                                            2
29                                                                                  Preliminary Order of Forfeiture

30
